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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
 REFRIGERATING, AND AIR                             Case No. 1:13-cv-01215-TSC
 CONDITIONING ENGINEERS,

                       Plaintiffs/
                       Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                       Defendant/
                       Counter-Plaintiff.

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion to Return This Case To The Court’s Active

Docket, it is hereby ORDERED that:

       1.      Case No. 1:13-cv-01215-TSC is returned to this Court’s active docket;

       2.      Discovery remains closed; and

       3.      The parties shall brief issues of copyright and trademark fair use on the schedule

set forth below.

                     Event                                              Date
 Opening cross motions for summary                  60 days from the date of this Order
 judgment
 Amicus briefs                                      30 days after the date opening cross motions
                                                    are filed



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                    Event                                    Date
Opposition briefs                        45 days after opening cross motions are filed



SO ORDERED.

                                   ________________________________
                                   Hon. Tanya S. Chutkan
                                   United States District Judge




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